                                                                       IT IS ORDERED
                                                                       Date Entered on Docket: May 6, 2019




                                                                       ________________________________
                                                                       The Honorable David T. Thuma
                                                                       United States Bankruptcy Judge
    ______________________________________________________________________

                                        UNITED STATES BANKRUPTCY COURT
                                             DISTRICT OF NEW MEXICO


In re: TIMOTHY MARK ESQUIBEL ,                                                         Case No.: 14−11675−ta7

                 Debtor.


                                             ORDER REOPENING CASE


    This matter came before the Court on a motion to reopen the above−captioned case, filed on April 24, 2019,

doc. 16. Being sufficiently advised, the Court FINDS:

         A.    Debtor filed this Chapter 7 case on May 30, 2014.
         B.   On September 8, 2014, a final decree was entered in this matter and the case was closed.

         C.   There is good cause to reopen this case.

         D.    The appointment of a trustee is necessary to protect the interest of creditors and the debtor or to ensure

the efficient administration of the case.

    IT IS THEREFORE ORDERED:

         1.    This case is reopened.

         2.   The U.S. Trustee is directed to appoint a trustee to administer this case.



                                               ### END OF ORDER ###




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COPY TO:

Timothy Mark Esquibel
3829 Madrid Dr NE
Albuquerque, NM 87111


United States Trustee
P.O. Box 608
Albuquerque, NM 87103

Donald Provencio
1721 Carlisle Blvd NE
Albuquerque, NM 87110−5621

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